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ASSOCIATION OF AMERICAN
PHYSICIANS & SURGEONS, INC.,, and
EILEEN NATUZZI, M.D.,

SHELLEY ROUILLARD, in her official
capacity as the Director of the California.
Department of Managed Health Care,

Plaintiffs,

Defendants.

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Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 1 of 20

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

2:16-cv-02441 MCE-EFB

REQUEST FOR JUDICIAL NOTICE IN
SUPPORT OF MOTION TO DISMISS

Date:
Time:

September 6, 2018
2:00 p.m.

Courtroom: 7
Judge:

ge: Hon, Morrison ©. England,.Jr.
Trial Date: None Set .
Action Filed: October 13, 2016.

ITEMS TO BE JUDICIALLY NOTICED
In support of the motion to-dismiss filed herewith, Defendant Shelley Rouillard, in her
official capacity as the Director of the California Department of Managed Health Care

(“DMHC”), respectfully requests that this Court take judicial notice of following documents:

Request for Judicial Notice (2:16-cv-02441 MCE-EFB)

Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 2 of 20

Exhibit Document Description Pages
1. DMHC Guidance.re: Surprise Medical Bills, 1-2
Frequently Asked- Questions
Dated June 2017

A: true and correct copy of this document
is ‘attached hereto. as Exhibit 1!

2. DMHC Publication: AB 72. Uniform .
Written Procedures and Guidelines 1-12
Dated September 1, 2017
A true and correct copy of this document

is attached hereto as Exhibit 2?

The documents are relevant to Plaintiffs’ allegations that the Act applies:to Medicare plans
and emergericy services. Also, the documents are relevant the allegation that the Act’s
independent dispute resolution process is too costly and burdensome.

LEGAL ANALYSIS
I. OVERVIEW OF THE CHALLENGED LEGISLATION

AB 72 shields insured-patients from “surprise medical bills.” These are bills received by
patients for tréatment, unbeknownst to'them, from-an out-of-network health. professional for
services accompanying treatment at an in-network health facility. It also ensures that out-of-
network providers are reasonably reimbursed for-their services by (1) either an agreed upon tate;
(2)a default payment rate based, in part, on geographical areas; or (3) participation in an
independent dispute:resolution process that gives out-of-network providers the option to resalve
‘their disputes with health care service plans stort of formal litigation.

Plaintiffs assert that the Act is unconstitutional becatise the Act’s: reimbursement provisions
do not adequately compensate-out-of-network providers for their services. Specifically, Plamtiffs
allege that the Act is invalidly applied to Medicare plans and emergency services, and that the

Act’s independent: dispute resolution process is too costly.and burdensome: Plaintiffs seek.

' Can also befound. here:
https: Hdmhe, ca. gov/Portals/0/HealthCareInCalifornia/FactSheets/fsab72. pdf
2 Can also be found here:
‘https: HabT2idrp. maximus.com/idrpportal/public/docs/AB72_Uniform_Written_ Procedures -and__

Guidelines.pdf
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Request for Judicial Notice (2:16-cv-0244 1, MCE-EFB)
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 3 of 20

declaratory and injunctive relief prohibiting the implementation of.the Act and claim that it runs
contrary to. the. Due Process, Taking, and Supremacy clauses in: U.S. Constitution.
Il. TRESUBJECT DOCUMENTS SHOULD BE JUDICIALLY NOTICED

Federal Rule of Evidence 201 permits a’court to take judicial notice of facts not’subject to
reasonable. dispute. that “can be accurately and readily determined from sources whose accuracy
cannot reasonably be questioned.” (Fed. R. Evid. 201(b).) Accordingly, “a court may take
judicial notice of matters of public record.” (Lee v. City of Los Angeles, 250 F.3d 668, 689:(9th
Cir. 2001).) A court may also take judicial notice of “records and reports of administrative
bodies.” (Mack v, S. Bay Beer Distrib., 798 F.2d 1279, 1282 (9th Cir. 1986).) Finally, a court
may take judicial notice of an administrative agencies’ published regulatory guidance.
(California Sportfishing Prot. All. v. Shiloh Grp., LLC,.268 F.Supp.3d 1029, 1038 (N.D, Cal.
2017); see also Porrazzo v. Bumble Bee Foods, LEC, 822 F.Supp.2d 406, 411-412 (S.D.N.Y.
2011).).

The docuinents that are the subject of the instant request (Exhibits I and 2) should be
judicially noticed because: (1) they are matters of public record that are available on the DMHC
website; aid (2) they are records.of an administrative body, constituting regulatory guidance.

The documents are relevant to Plaintiffs’ allegations that the Act applies to Medicare plans
and emergency services. Also, the documents. are relevant the allegation that the Act’s
indeperident dispute resolution process is too costly and burdensome.
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Request for Judicial Notice (2:16-cv-02441 MCE-EFB) .
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Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 4 of 20

CONCLUSION

For the reasons cited above,.Defendant respectfully requests. that this Court take judicial

notice of the above referenced documents,

Dated: June 21, 2018:

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13119355.docx.

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Respectfully Submitted,

XAVIER BECERRA

Attorney General of California
NIROML W.PFEIFFER _

Supervising Deputy Attorney General

/S/ Darrell W. Spence

DARRELL W. SPENCE

Deputy Attorney General.
Attorneys for Defendant Department of
Mariaged Health Care

Request for Judicial Notice (2:16-cv-02441 MCE-EFB}.

Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 5 of 20

EXHIBIT 1
New Law Protects Consumers from Surprise Medical Bills

A new law created by Assembly Bill (AB) 72‘ (Bonta, Cliapter 492, Statutes of 2016) protects
consumers from surprise medical bills when they go to in-network facilities such as hospitals,
labs or imaging centers. This new consumer protection starts July {, 2017, and makes sure
consumers only have to pay their in-network cost sharing. Providers.now. cannot send consumers
out-of-network bills when the consumer did everything right and went to an in-network facility.

Consumer Quick Facts:

+ No Surprise Medical Bills: Health care consumers are no longer put in the middle of billing
- disputes between health plans. and out-of-network providers. Consumers can.only be billed
for their in-network cost-sharing, when they use an in-network facility.
¢ Prevents Collections: Proiects-consumers from having their credit hurt, wages garnished,
or liens placed on their primary residence.

+ Helps Control Health Care Costs: Heaith plan payments for out-of-network services are
no longer based on-sticker price.

Frequently Asked Questions:

What is a surprise bill, and why would | get one?
Here are some examples of when consumers have.gotten. surprise. bills:

« A-consumer had a surgery at a hospital or outpatient surgery center in their health plan
network, but the anesthesiologist was not in their health plan network..Even though the
‘consumer did not have a choice in who their anesthesiologist was, that provider sends a bill
to the consumer after the surgery. This is a surprise bill.

e A consumer goes to a lab or imaging center in their health plan network for tests and the
_doctor who reads the results is not in theit health plan network. That.doctor then bills the
consumer for their services creating a surprise bill.

Under.AB 72, consumers should no longer receive these-surprise bilis. This means when you go
to a health care facility like a hospital or a lab in your health plan network, and end up with a
doctor who is not in your health plan network, they cannot charge you more:than you would have
‘to pay for an in-network doctor.

Frequently Asked Questions:

What should J} pay?

Consumers who go fo an in-network facility only have to pay for in-network cost-sharing

(co-pays, co-insurance, or deductibles). Consumers should contact their health plan if they have’
questions about their in-network cost-sharing. .

‘What is a Health Plan Network?

A health. plan network is the group of doctors, hospitals and other health care providers. a health
plan contracts with to provide health care services to its members. These providers are called
“network providers,” “contracted providers” or“in-network providers.” A provider: who does not
contract with your health plan is called an “out-of-network provider” or “non-contracted providers.”

Examples: of health care facilities that are in a health plan network include. hospitals; ambulatory
surgery centers or other outpatient settings, laboratories, and radiology or imaging centers..

What If | Received a Surprise Bill? And What If | Already Paid?

If you received a surprise bill and already paid more ihan your in-network cost'share (co-pay,
co-insurance or deductible) file a gtievance/complaint with your health plan. with a copy of the bill.
Your health plan will review your grievance and. should tell the provider to-stop billing you. If you
do not agree with your health plan’s response or they take more than 30 days to fix the problem,
you can file a complaint with the Department of Managed Health Care, the state regulator of
health plans. You can file a complaint by visiting wwww.HealthHelp.ca.gov or calling
1-888-466-2219.

Does the New Law Apply to Everyone?

The Jaw applies to people in health plans regulated by the Department of Managed Health Care
or the California Department of Insurance. It does not. apply to Medi-Cal plans, Medicare pians or
“self-insured plans.” If you do not know what kind of plan-you are in you can call the DMHC Help
Center at 1-888-466-2219 for help.

What lf !Want to See a Doctor Who | Know is Out-of-Network?

if you are in’a health plan with an out-of-network benefit, such as a PRO, you-can choose to.go to.
an out-of-network provider. You have to give your permission by signing a form in writing at least.
24 hours before you receive care. The form should inform you that you can receive. care from an
in-network provider if you so choose. The form should be in your language if you speak English,
Spanish, Vietnamese, Cantonese, Armenian, Russian, Mandarin, Tagalog, Korean, Arabic,
Hmong, Farsi, or Cambodian.

1AB‘72 protects consumers receiving non-emergency services at in-network facilities from being balanced bilfed by an out-of-network,
provider, California law already protects. most consumers from balance billing for emergency services:

Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 8-of 20

EXHIBIT 2
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 9 of 20

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Healti.and Human. Services Agency

DEPARTMENT OF MANAGED HEALTH CARE

980 9th Street, Suite 500, Sacramento, CA95814-2725
Toll-Free: 1-877-525-1295 | Fax:.916-255-2282

Email: AB72iDRP@dmhc.ca.gov

www. HealthHelp.com

AB 72. UNIFORM WRITTEN PROCEDURES AND GUIDELINES

HSC §1371.30(b)(1)': The department shall establish uniform written procedures for the submission,
receipt, processing, and resolution of claim payment disputes. pursuant to this ‘section-and any other
guidelines for implementing this section..

1 SUBMISSION
1.4 Required Filing of Delegated Entity Report by Licensed: Health Plans .

1.1.1 Licensed health care service plans. may delegate payment function to various entities
(Delegated Entities). The Department of Managed Health Care (DMHC)} AB 72
Independent Dispute Resolution Process (IDRP) allows a health plan to name a delegated
entity'as the. responsible payor for purposes of the IDRP. Once a delegated entity is
named by the health plan, the delegated entity is required to participate in the IDRP (see
HSC §1371.30(f}). Notwithstanding delegation, the health plan is ultimately responsible for
impiementing the JDAP decision (see HSC §1371.30(d)).

1.4.2. In order to conduct the IDRP, the DMHC will require all licensed health plans to submit

_ electronically a current list of the health-plan’s delegated entities (hereinafter, "Delegated.
Entity Report”). If a health plan does not delegate payment function to any delegated:
entities, the Delegated Entity Report shall state that. the health plan does not delegate
payment function.

1.1.3 The Delegated Entity Report must be submitted electronically to the DMHC’s Office of
Plan Licensing (OPL) via the eFiling webportal-pursuant to CCR §1300.41.8. The
‘Delegated Entity Report must be submitted onan annual basis. Each health plan's first
Delegated Entity Report must be submitted by November 15,2017. Subsequent reports
are due by November 15th of each year, In the event that there are no changes to a
‘health plan’s previously filed Delegated Entity report, the health plan is required to submit
‘a Delegated Entity Report that states there are no changes ta report.

1.1.4 -Atamiinimum, the Delegated Entity Report must contain:

« The name-and title-of the individual(s}, including at least one (1) alternate
contact, at the health plan responsible for receiving and responding to
communications from the DMHC for purposes of the 1DRP, including the
individual's e-mail address and direct telephone number, with extension, if
applicable.

* The name of each delegated eritity

e Accurate and current contact information for each delegated entity, including
mailing address: and telephone number.

* References to “HSC” are to the Knox-Keene Health Care Service Plan Act {Act}, as codified in the California Health and Safety
Code, Section 1340, et seq. References to “CCR” are to the regulations promulgated pursuant to the Knox-Keene Health Care-
Service-Plan-Act, found at Title 28, Division 1, Chapter'2, California Code of Regulations, beginning with Section ‘1300.43,

4
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 10 of 20

« The name and title of the individual(s), including at least one (1) alternate
contact, at the delegated entity responsible for receiving and responding to
communications from the DMHC for purposes of the IDRP, including the.
individual's e-mail address and direct telephone number, with extension, if
applicabie.

1.2 Registration

4.2.1

All prospective parties to IDRP must register with the online IDRP portal in order to. submit

‘an IDRP. Application or respond to.an IDRP Application. Each provider and payor must

create an Administrator account that will be responsible for approving the registrations. of

-each user sub-account. Providers will be required to input a National Provider Identifier

(NPI} number upen registration.

1.2:2 The prospective parties to IDRP include health plans, delegated entities, and

noncontracting individual health professionals. Physician groups, independent practice
associations, or other entities authorized to act on behalf ofa noncontracting individual
health professional may also initiate and participate inthe IDRP.

1.3 (DAP Application

1.3.1

An initiating Party must complete an IDRP Application online using the DMHC’s external
IDRP portal. The IDRP Application form is entirely web-based. IDRP Applications will not
be accepted outside of the IDRP portal and there is ne parallel paper process for the

IDRP. The Application includes required data fields related to. claims processing and

billing. The information needed to complete these data fields should be readily available to
the Initiating Party on the claim form(s), Explanation(s) of Benefits (EOBs), ‘arid Provider
Dispute Resolution (PDR) determination letter(s) for the claim({s) that are. in dispute.

1.4 Required Supperting Documents:

1.4.1

The following documents must be: included with an IDRP Application in order for it to be
processed by the DMHC:

e Claim Form(s)

* Provider Dispute Resolution (PDR) Determination Letter(s)

o Note: If a provider attempted PDR, but did not receive.an
acknowledgment letter or determination etter from the Payor and at
least 45 business days have passed since the date of receipt” of the
provider dispute, the provider may submit dated proof of the PDR
attempt in lieu of a PDR determination letter. In accordance with CGR
§1300.71.38(d)(2), the 45 business day period shall be extended in
situations where a-provider dispute is.feturned and must be amended.

* Explanation(s) of Benefits or Remittance Advice.

1.5 Narrative Summary Justification

1.5.1

In addition to. the required supporting. documents,:a complete IDRP Application should
include a narrative summary justification that addresses all information relevant to the
Initiating Party’s:suggested appropriate reimbursement:amount forthe claim(s) at issue,
including, but not limited to, the factors set forth in CCR §1300.71 (a)(3)(B}()-(vi). These
factors are listed here:

j. the provider's training, qualifications, and length of time in practice;

fi.  the.nature of the Services provided; _

iii. the fees usually charged by the provider;

? “Date-of receipt’ is defined at CCR §1300.71.38(a}{3).

2017-09-04
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 11 of 20

iv. prevailing provider rates charged in the general geographic area in which the
‘services were rendered;
y. other aspects of the economics of the medical provider's practice: that are
relevant; and
vi. any unusual-circumstances in the case,
4.5.2 Although not required, this narrative summary justification is very important. It is the

Initiating Party’s chance to make its case and show that its suggested reimbursement
amount is appropriate. The narrative summary justification. should: be well-organized.and
should cite or reference supporting documentation and evidence. where applicable. All
cited or referenced materiais.should be uploaded with the IDRP Application.

1.5.3° The DMHG will not: impose a page-limit on the narrative summary justification.

1.6 Other Relevant Supporting Documents .

£.6:1. The Initiating Party may alse submit any other documents that it believes to be relevant to
ihe suggested appropriate reimbursement amount for the claim(s) at issue and that it
would like the independent review organization to consider when making an IDRP
decision: It is the Initiating. Party's responsibility to.explain the relevance of this
documentation in its narrative summary justification. -

1.6.2. The independent organization conducting the IDRP will consider only the. information and
documents timely submitted to the DMHC by the parties to the dispute when rendering a
decision. Therefore, it is the IDRP participant's responsibility to include all documents and
information relevant to the appropriate reimbursement amount with the IDRP Application.

1.6.3 The DMHC will not impose a.page limit on the supporting documents submitted with the’
IDRP Application.

1.7% General Guidelines

1.7:1 ‘Alfclaims in an IDRP Application must be for sérvices rendered on or after July 1, 2017.

4.7.2 Allclaims in an IDRP Application must be for non-emergericy services. If there-is an
unresolved dispute as to whether the. health care services at issue are. non-emergent, the
claim(s) do not qualify for the IDRP.

1.7.3. All claims in an IDRP Application must be for covered services provided at a contracting
health facility, or provided as a result of covered.services. at.a contracting health facility, by
_a noncontracting individual health professional.

1.7.4 Prior to submitting an IDRP Application, the PDR process must be completed with either
the health plan or the.applicable.delegated entity (see HSC. §1371.30(a)(2)). An Initiating
Party is not required to complete PDR with both the health plan and the delegated entity if
each entity maintains:a. separate PDR process. Required proof of completed PDR is.a
final PDR determination letter.

« Note: iia provider attempted PDR, but-did not receive an acknowledgment
letter or determination jetter from the Payor and at least-45 business days have
passed since the PDR attempt, the provider may submit dated proof of the PDR
attempt in lieu of a PDR determination letter. ln accordance with CCR
§1300.71.38(d)(2), the 45 business day period shail be: extended in situations
where a provider dispute is returned and must be amended.

1.7.5 Claims are eligible for the IDRP for 365-days from the final POR date of determination? If

‘the provider attempied PDR,.but the payor was non- Tesponsive, the 365-day limit will tun
after 45 business days have passed since the date.of receipt of the provider dispute. 4 in

* “Date of Determination” is defined at CCR §1300,71.38(a)(4).
* “Date of receipt” is defined at CCR §1300.71.38(a)(3).

2017-09-01
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 12 of 20

the event that a claim is submitted to the IDRP, but disqualified due to a curable defect in
the IDRP Application, the time during which the initial IDRP-Application was: pending with
the DMHC is. not included in the 365-day limit.

1.7.6 Adentist, licensed pursuant to the Dental Practice Act. {Chapter 4 (commencing with
Section 1600) of Division 2 of the Business. and Professions Code) is nota

“noncontracting individual health professional” for purposes of the IDRP and carinot
participate in the IDRP.

1.7.7 Medi-Cal managed health care service plaris or any other entity that enters into a contract
with the State Department of Health Care Services pursuant to Chapter 7 (commencing
with Section 14000), Chapter 8 (commencing with Section 14200),.and Chapter 8.75
(commencing with Section 14591) of Part 3 of Division 9 of the Welfare and Institutions.
Code are excluded from the IDRP and cannot participate in the IDRP.

1.8 Bundled Claims

1.8.1 An Initiating Party may “bundle” up to 50 claims in a single IDRP Application if the claims
meet the following conditions. (see HSC §1371.30(b)(3)):

* all claims must be for services. provided by the same individual health
professional;

¢ all claims.must have the same. payor (health plan or delegated entity};

* all claims must be forthe same or similar services.

1.8.2 Asingle claim within a bundle must contain Current.Procedural Terminology (CPT) codes.
or Healthcare Common Procedure Coding System (HCPCS) codes.

1.8.3 Required supporting documents {as described in Section 1.4) must be submitted for each
claim within a bundle (e.g., POR must be complete for each individual claim).

1.8.4 |DRP Applications that include. improperly bundled claims will be rejected and closed. The
DMHG will electronically send the Initiating Party a-closing letter explaining why the IDRP
Application was rejected through the IDAP portal. If the Initiating Party. chooses to
proceed with all or same of the claim(s), it must submit a new. iDRP. Application.

1.8.5 An IDRP Application is assigned a case ID#.and each bundled claim receives a sub-ID #
(e.g.,.1ID-1700001, ID-1700001-1). The IDRP Application requires documents and other
information for bundled claims tobe inputted at both the case level and the claim level.
The. IDRP portal includes functionality to identify which documents are relevant to specific
dlaim(s) within a bundle. All. documents uploaded within the IDRP portal should be
identified by claim where possible. Documents uploaded to the IDRP Application will be
sent to the.independent organization without reformatting or other changes.

1.8.6 An IDRP Application with bundled claims will be.allowed only a single narrative summary
justification document. However, the parties to the IDRP.are free to organize the narrative
by claim, if applicable.

1.8.7 Any bundles exceeding 50 claims must be submitied in separate. IDRP Applications. For
example, 100 similar claims meeting the conditions in HSC §1371.30(b){8) must be
submitted in at least two (2) separate IDRP Applications that contain upto 50 bundled
claims. . . .

1.9 Confidentiality of IDRP Application

1.9.1. IDRP Application information identifying the claim(s } at issue will be shared with the

applicable opposing party far purpases of determining (i) whether the DMHC has
jurisdiction over the claim(s), and, if relevani, (ii) whether the Health. Plan will be-
participating in the IDRP or.delegating participation to a delegated entity. The information
that will be shared for these purposes includes, for each Claim, the:

2017-08-04
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 13 of 20

® Subseriber name

« Patient name

e. Patient ID#

« Patient date of birth (DOB)
« Dates of Service (DOS).

e §=6Provider name

« Facility name°

‘« ~=6Claim Number

1.9.2 Following identification of the opposing party participating in.the IDRP, the Initiating
Party's complete IDRP Application will be viewable by both parties and the independent

organization reviewing the dispute.

4.9.3 Itis-each IDRP participant's responsibility to redact all proprietary, confidential, or
‘protected health information that should not be viewed by the DMHC, the independent
organization, or parties to the IDRP. Additionally, itis each IDRP participant's:
responsibility to redact all identifying information relating to patient claims that are not the
subject of the IDRP from documents. uploaded tothe IDRP portal.

2 RECEIPT
2.1 Intake - IDRP Application Review

2.1.1 After an Initiating Party submits the IDRP Application, a dated Acknowledgment of IDRP
Application: Submission will be electronically forwarded to the Initiating Party using the e-
mail address listed inthe registration process.

2.4.2 DMHC Intake Staff will do:an initial review of the complete IDRP Application to confirm
that the Initiating Party has identified the applicable health plan for all.claim(s) contained in.
the IDRP Application.

2.1.3. Once an Initiating Party has submitted an IDRP Application, an Opposing Party (either the
noncontracting individual health professional or the health plan/delegated entity) is
réquired to participate in the IDRP by law (see HSC §1371,30(a)(3)).

2.2 Request for Opposing Party Resporise | (ROPR 1)

2.2.1 if the Initiating Party is a noncontracting individual health professional, the DMHC will
send a ROPR [ communication to the health plan through the IDRP portal. The ROPR | is
entirely web-based. ROPR | responses will not be accepted outside of the JDRP portal
and there is no parallel paper process for the. ROPR I. The ROPR | requires the health
plan to confirm or deny DMHC jurisdiction over the.claim(s) at issue. If the health plan
confirms DMHG jurisdiction, it must also indicate whether it is the responsible payor for
purposes of participating in the IDRP or if-it has delegated payment function to a
delegated entity that will be.participating in the IDRP. Even if the health plan names.a
delegated entity in its: response to ROPR |, the health plan is ultimately responsible for
implementing. the IDRP decision {see HSC §1371.30(d)).

2,2,2 The ROPR | communication contains the following data fields collected from the IDRP
Application that will allow the health plan to identify the claim(s) ‘and accurately respond:

e Subscriber name
e« Patient name
e Patient IDF

* For purposes of OMHCIDRP, “facility” means.(i) the contracting health facility wherd the service(s) at issue were provided,
or {ii) the contracting health facility where the provision of. covered services resulted in the service(s) atissue.

2017-09-01
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 14 of 20

2.2.3

2.2.4

2.2.5

e Patient date of birth (DOB)

« Dates of Service (DOS)

« Provider name

¢ Facility name®

‘ = Claim Number
Ifthe health plan indicates that it is not the responsible payor for purposes of participating
in the IDRP, the health plan will not have-access to the. IDRP Application or any

‘documents uploaded as part of the IDRP Application gaing forward. However, the health

plan will have access to. selected case status information in order to monitor whether the

‘delegated entity has fullfilled its obligation to participate in-the IDRP.

If the health plah-names.a delegated entity as.the responsible payor for purposes of the
IDRP, the health plan will be required to select the delegated entity from a list of pre-
registered. entities, or provide accurate and current contact information for the delegated
entity if the name does not appear on the list of pre-registered entities.

If the health plan names a delegated entity as the responsible payor for purposes of the
IDAP,.then the delegated entity is required io participate in the IDRP (see HSC
§1371.30(f).

2.3 Closing Non-Jurisdictional Claims

2.3.1

2.3.2

If the health plan indicates in its ROPR | response that the claim(s) at issue are not within
the DMHC’s jurisdiction, the: DMHC will close the IDRP Application using the “Non-
Jurisdictional” close reason.and will electronically issue a closing letter to the parties.

Ifthe health plan-states that the DMHC does not have jurisdiction, it should specify in its
ROPR | response the specific regulatory body that does have jurisdiction over the Claim(s}
at issue (Le. California Department of Insurance, etc.), DMHC Intake. Staff will include this
infarmation in the closing letter.

2:4 Request for Opposing-Party Response I! (ROPR tl)

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Aftertthe DMHC receives a ROPR | response and confirms jurisdiction and the contact
information for the Opposing Party, the DMHC will electronically send a ROPR II
notification to the Opposing Party through the IDAP portal.

The ROPR It is the Opposing Pariy's opportunity to fully respond to the Initiating Party’s
IDRP Application. When the Opposing Party receives the ROPR II, the Opposing Party
will have access to the IDRP Application, including every document uploaded by the
Initiating Party as partof the IDRP Application. This includes the. Initiating Party's narrative
summary justification document. It is the DMHC’s expectation that an Opposing Party will
address any inaccurate information contained in the IDRP Application and/or any
arguments raised inthe narrative summary justification.

The Opposing Party must complete the ROPR II online, through the IDAP portal. The
ROPR II is entirely web-based. ROPR II responses, including communications or
documentation of any kind,-will not be accepted outside of the portal and there is no
parallel paper process for providing a ROPR lI response. The'ROPR i! includes data fields
related to claims processing and claims payment. The information needed to complete
these data fields should be readily available to the Opposing Party within the documents
associated with the previously completed PDR process.

The ROPR II response does not require certain document uploads to be deemed
complete. However, it is the Opposing Party’s responsibility to provide any information.

© For purposes of DIMHCIDRP,. “facility” mearis (i) the contracting health facility where the service(s} at issue were provided,
or {ii} the contracting health facility where the provision of covered services. resulted.in the service(s} at issue.

2017-09-01
Case 2:16-cv-02441-TLN-EFB Document 34-2. Filed 06/21/18 Page 15 of 20

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and documents it believes to be relevant to its suggested appropriate reimbursement
amount for the claim(s) at issue as part of the ROPR II response.
In addition to optional supporting documents, a complete ROPR II response should
include the Oppasing Party’ s narrative. summary justification that addresses all information
relevant ‘to its suggested appropriate reimbursement amount for the claim({s) at issue. The
narfative summary justification should address any evidence offered by the Initiating Party
concerning the factors set forth in CCR §1300.71 {a)(8)(B){i)- -(vi), listed here: . .
i.. the provider's training, qualifications, and length of time in practice;
ii, ‘the nature of the services provided;
iii. the fees usually charged by the provider;
‘iv. prevailing provider rates charged in the general geographic area in which the
services were rendered;
v. other aspects. of the economics of the medical provider's practice that are
relevant; and
vi. any unusual circumstances in-the case..
The Opposing Party's narrative summary justification should be well-organized and should
cite or reference supperting documentation and evidence where applicable. All cited or
referenced materials. should be uploaded with the ROPR II response.
The DMHC will not impose a page-limit on the Opposing Party's narrative summary
justification.
The Opposing Party may.also submit any other.documents that it believes to be relevant
to the appropriate-reimbursement amount for the claim(s) at issue and that it would like
the independent organization to consider when making an IDRP decision.

The independent organization conducting the IDRP will consider only the information and

documents timely submitted through the IDRP portal by the parties to the dispute when
rendering a decision. Therefore, it is the IDRP participant's responsibility to include all
documents and information relevant to its suggested apprapriate reimbursement amount
with the ROPR U response.

The DMHC will not impose a'page limit on the supporting documents submitted with the
ROPR |! response.

25 Failure to Respond to ROPR | or ROPR I!

2.5.1

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2.5.4

2017-09-01

lf a héalth plan fails. to timely respord to ROPR |, the DMHC’s Provider Complaint Unit will
refer the matter to the DMHC’ Office of Enforcement for the possible imposition. of
administrative or civil penalties (Enforcement Action).

If an Opposing Party fails to timely respand to ROPR II, the case will proceed to the
independent organization te commence billing. lf-both the Initiating Party and Opposing
Party remit IDRP review fees, the independent organization will consider. only the
information and documents timely submitted through the IDRP portal by the Initiating
Party when reaching an IDRP. decision.. .

If an Opposing Party fails to'timely respond to ROPR II, the:case will proceed to the
independent organization. If the Initiating Party remits its share of the: IDRP review fee, but.
the Opposing Party does not, the independent organization will issue a Default Decision
awarding the Initiating Party its full requested reimbursement amount.

If a delegated entity fails to respond to any communications from the DMHE during the
IDRP, the health plan that has delegated payment function to that delegated entity may be
subject to an Enforcement Action.
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 16 of 20

3 PROCESSING
3.1. IDRP Application and ROPR II Review:

3.1.1

3.1.2

The DMHC will conduct a first-look review of the complete IDRP Application and ROPR tt
response to determine.whether any uploaded documents are illegible, missing pages, or
contain inapplicable protected heath information, and cannot be sent to the independent
organization conducting the IDRP.

lf the DMHC determines that certain documents need to be redacted or re-uploaded due
to legibility or other technical errors, the DMHC will contact the appropriate party to the
IDRP to resolve the issue electronically through the IDRP portal using a Request for
information (RFI) communication.

if.a party does not timely respond to the-RFI communication, any affected document(s)
will undergo review by the DMHC. and independent organization in its present condition.
Once‘the DMHC has resolved any technical issues with the IDRP Application and ROPR.
ll response, the DMHC will begin evaluating the case to determine whether it qualifies for
the IDRP.

3.2, Qualifying a Case for the IDRP

3.2.1

3.2.2

Itis the DMHC's responsibility to qualify casesfor the IDRP prior to billing and review by
the independent organization conducting the IDRP.

The DMHC must confirm the following information in a case before qualifying the case for
the IDRP:

-e All claims in the case must be for services rendered. on or-after July 1, 2017.

« All claims in the case must be-for non-emergency services. If there is an
unresolved dispute as to whether the health care services at issue are non-
emergent, the claim(s) do not qualify for the IDRP.

¢ All claims.in the case must be for covered services provided at a contracting
health facility, or provided as:a result of covered services at a contracting health
facility by’a nencontracting individual health professional.

® lfthe case contains bundled claims, all claims in the case. must ‘be for the same
or simiiar services

e All claims in the case must be. accompanied by valid proof of completed PDR
with either the health plan or the applicable delegated entity (see HSC
§1371.30(a){2)). Valid proof of completed PDR is a final PDR determination
letter. The only exception to this requirement is in circumstances where a
provider attempted PDR, but did not receive an acknowledgment letter or
determination letter from the: Payor and-at least 45 business days have passed:
since the date-of receipt’ of the provider dispute. In this limited circumstance,
dated proof of the provider’s PDR attempt is valid proof of PDR. In accordance.
with CGR §1300.71.38(d)(2), the 45 business day period shail be extended in
situations where.a provider dispute is returned and must be amended.

e Ail claims in the case must be submitted to the IDRP within 365-days from the.
final PDR date of determination.® If the provider attempted PDR, but the: payor
was non-responsive, the 365-day limit will run after 45 business days have
passed since.the date of receipt of the provider dispute.®. Inthe event that a
claim ‘is submitted to the IDRP, but disqualified due to a curable defect in the

? “Date of receipt” is. defined at-CCR §1300:71.38(a}(3}.
* “Date of Determination” is defined.at CCR §1300,71.38(a)(4).
* “Date of receipt” is defined'at CCR §1300.71.38(a)(3).

2017-09-04
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 17 of 20

IDRP- Application, ihe time during which the initial IDRP Application was
pending with the DMHC is not included in the 365-day limit.

e The noncontracting individual health professional cannot .be a dentist, licensed
pursuant to the Dental Practice Act (Chapter 4 (commencing with Section 1600)
of Division-2 of the Business.and Professions Code). . .

e The health plan cannot be a Medi-Gal managed health care service plan-or any
other entity that enters into-a contract with the State Department of Health Care
Services. pursuant to Chapter 7 (commencing ‘with Section 14000), Chapter 8-
{commencing with Section 14200), and Chapter 8.75 (commencing with Section
14591) of Part 3 of Division 9 of the Welfare.and Institutions Code..

3.2.3 Ifacase qualifies for the IDRP, the DMHC.will draft a qualification memorandum {in a
format to be determined by DMHC) for the independent organization conducting the IDRP.

3.2.4 The qualification memorandum will.ask the independent organization conducting the IDRP
to respond to the same question in-every case: Based’on all relevant information
submitted by the parties, what is the appropriate reimbursement amount for each CPT
and/or HCPCS code: billed-by the provider?

3.2.5 If an Initiating Party indicates in its Application, or an Opposing Party iridicates. in its’
ROPR tI response, that.a dispute exists.as to whether the.claims at issue are properly
coded (i.e. upcoding, dewncoding, etc.}, the qualification memorandum will include an
additionat question: Based on-alt relevant information submitted by the parties, are the
claims at issue appropriately coded for the purpose of calculating the reimbursement
amount, and if the claims are not properly coded, what'is the appropriate. reimbursement
amount for each of the claims, as appropriately coded? When a qu atification
memorandum.contains this additional question, the.parties will be charged the higher
"Standard rate including coding. review” tate as stated in Section 4.2.5, below.

3.2.6 The qualification memorandum will be electronically sent to the independent organization
to commence billing and resolution.

3.3 Disqualifying a Case for the IDRP
3.3.1 Ifa-case is not quatified for the IDAP, the DMHC. will draft a disqualification memorandum

(in a format to be determined by DMHC) that provides a detailed explanation as to why
‘the case is not qualified and which documents and/or other information the DMHG relied
on in reaching its conclusion.

3.3.2 The DMHC will electronically send the applicable closing letter to both parties-to the IDRP
through the IDRP portal. The closing letter will include the.close reason.

3.3.3 The DMHC will close the case in the IDRP portal:

4 RESOLUTION
4.1 |Independent Organization Intake
4.1.1 The DMHC is contracted with an independent organization (Maximus, Inc.) that conducts
IDRP proceedings. The independent organization is independent of either party to the.
IDAP (see HSC §1371.30(¢}{1)).
4.1.2 Upon receipt of the qualification memorandum from the DMHC, the independent
organization will commence intake, billing, assignment, and review of a.case.
4.2 Pre-Payment/Billirig
4.2.1 Reasonable.and necessary fees for the purpose of administering the IDRP will be ‘split
equally between the parties (see HSC §1371.30(b)(2)).

2017-09-01
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 18 of 20

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Payment of IDAP fees is billed and collected solely by the independent organization
conducting the IDRP.

All IDRP feés.will be paid electronically through the IDRP portal.

All IORP fees. will be collected before the independent organization commences review of
the [DAP and prior to the issuance of a Decision Letter:

IDRP fees increase based on the. number of claims bundled-within a case. A list of current
\DRP fees is as follows:

Standard rate (no dispute. over correct coding of claims)

‘$315 per review

$315. per review of 2-10 substantially similar claims
$340 per review of 11-25 substantially similar claims
$395 per review of 26-50 substantially similar claims

Standard rate including coding review.

$330 per review

$330 per review of 2-10 substantially similar claims

$355 per review of 11-25 substantially similar claims
$415 per review of 26-50 substantially similar claims

Once a case is qualified for the IDRP by the DMHC, and the independent organization
collects payment from the Initiating Party, the case cannot be withdrawn and any Tunds
remitted by the parties will not be refunded.

The Initiating Party is billed for IDRP first. After the Initiating Party timely remits its IDRP

fe6, the Opposing Party is billed.
Jf an Initiating Party fails to timely remit payment for the IDRP; the independent

organization will notify the DMHC. The DMHC will close the case and electronically send a
closing letter to both parties to the IDRP.

If an Initiating Party timely remits its share of the IORP review fee; but the Opposing Party
does not, the.independent organization will issue a Default Decision awarding the

Initiating Party its full requested reimbursement amount.

4.3. Review Guidance

4.3.7

4.3.2

4.3.3

2017-09-01

The independent organization will have a maximum of thirty (80) calendar days. following
receipt of payment to. complete its review of a. case and provide the DMHC with an IDRP

‘Decision Letter.

The review organization’s IDRP. Decision regarding. the appropriate reimbursement

amount for the claim(s) at issue shall be based on all:réelevant information as submitted by

the parties to the IDRP (see HSC §137%.30(b)(5))..
The relevant information considered by the independent organization includes, but is not

jimited to, information submitted by the parties regarding the factors set forth in CCR

§ 1300.71 (a)(3}(B)(i)-(vi), listed here:
i. the provider's training, qualifications, and length of time in practice;
ii, | the nature of-the services provided;
iii. the fees usually charged by the provider;
iv. prevailing provider rates charged in the general geographic area in which the
services were rendered;
v. other aspects of the. economics of the medical provider's practice that are
relevant; and ,
vi. any unusual circumstances in the case.
16
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18 Page 19 of 20

4.3.4

The IDRP Decision drafted by the independent organization will provide a written

explanation of the appropriate reimbursement amount decision, ahd will include a list of
appropriate reimbursement amounts by relevant GPT and/or HCPCS code.

4.3.5 The independent organization will electronically communicate all IDRP Decisions to the

DMHC for final approval and distribution to the IDRP parties through the. IDRP portal.

4.4 IDRP Decision

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4.4.2

4.4.3

IDRP Decision Letters, including IDRP Default Decision Letters, will not: be-distributed to

the parties before final approval (to confirm application of IDRP guidelines, professional
dratting, and-formatting) by the DMHC.

Once an DAP Decision Letter (or Default Decision Letter) is approved, the DMHC will
electronically send the IDRP Decision Létter and DMHC cover letter to both parties.to.the
[DRP through the IDRP portal.

The decision obtained through the IDRP is binding on both parties. The health plan ‘and

delegated entity, if applicable, shall implement the decision obtained through the IDRP. If

dissatisfied, either party tothe IDRP may pursue any right, remedy, or penalty established
under any other applicable law (see HSC §1371.30(d)).

5 TIME PERIOD TO RESPOND TO IDRP COMMUNICATIONS

5. Paperless IDRP

5.1.1

The IDRP is entirely.electronic and is conducted through the IDRP portal. There is no
parallel paper process for the IDRP, and documents will not be accepted or considered
outside of the IDRP portal. To ensure maximum security; all documents uploaded to the.
!ORP portal must be in Portable Document Format (,.PDF).

5.2. Response Deadlines

5.2.1

2017-09-01

The following response deadlines apply for each communication type within the IDRP
portal. Deadlines begin to run on the businéss day following electronic transmittal of the
communication through the IDRP portal. [Example: RFI communication sent by DMHC on
Friday, September 15". The 5-day deadline begins to run on Monday, September 48",
Assuming no intervening State holidays, the response is due by 11:59 p.m. on Friday;
September 22":

Time to Respond to. RFI: 5 business days

‘Time.to Respond to ROPR |: 5 business days

Time-to Respond to ROPR II: 20 business days

Time for Initiating Party to remit fee: 30 calendar days.

Time for Opposing Party to remit fee: 30 calendar days

11
Case 2:16-cv-02441-TLN-EFB Document 34-2 Filed 06/21/18

ACRONYMS

AB72: — Assembly Bill-72 (Bonta 2016)

CPT: Current Procedural Terminology

-DMHC: California Department of Managed Health Care
EOQB: Explanation of Benefits

‘HGPCS: Healthcare Common Procedure Coding System
IDRP: Independent Dispute Resolution Process

NPI: National Provider Identifier

PDF: Portable Document Format:

PDR: Provider Dispute Resolution

RFI: ‘Request for information

ROPR1: Request for. Opposing Party Response |

ROPR Il: Request for Opposing Party Response If

2017-09-04

Page 20 of 20

12
